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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                                  Chapter 11

 CAESARS ENTERTAINMENT                                   Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                         Jointly Administered
                          Debtors.

                            DECLARATION OF JEFFREY CHUBAK

          I, Jeffrey Chubak, hereby declare:

          1.     I am counsel to Earl of Sandwich (Atlantic City), LLC (“Earl”) and submit this

declaration in support of its summary judgment motion.

          2.     Attached hereto as Ex. 1 is a true and correct copy of the Notification as to Affiliates

filed by Earl in the appeal of the Order denying the motion for a protective order, filed by Whitebox

Advisors LLC (“Whitebox”).

          3.     Attached hereto as Ex. 2 is a true and correct copy of the transcript of the deposition

of Thomas Avallone.

          4.     Attached hereto as Ex. 3 is a true and correct copy of an excerpt of the transcript of

the deposition of Joseph Sarachek.

          5.     Attached hereto as Ex. 4 is a true and correct copy of excerpts of the transcript of

the deposition of Barrett Mikelberg.

          6.     Attached hereto as Ex. 5 is a true and correct copy of certain documents Whitebox

produced in response to Earl’s requests for production in this contested matter, which are cited by

bates stamp number assigned by Whitebox (WBA-___).
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        7.      Attached hereto as Ex. 6 is a true and correct copy of documents Earl produced to

Whitebox in response to requests for production in this contested matter, which are cited by bates

stamp number assigned by Earl (Earl___).

        8.      Attached hereto as Ex. 7 is a true and correct copy of the transcript of the deposition

of Bradly Schwab.

        9.      Attached hereto as Ex. 8 is a true and correct copy of the transcript of the deposition

of Gail Rosenblum.

        10.     Attached hereto as Ex. 9 is a true and correct copy of the transcript of the deposition

of Bryan Seyfried, the corporate representative under Rule 30(b)(6) of Cowen Special Investments

LLC (“Cowen”).

        11.     Attached hereto as Ex. 10 is a true and correct copy of the transcript of the

deposition of Amit Patel, Whitebox’s corporate representative under Rule 30(b)(6), together with

an errata sheet.

        12.     Attached hereto as Ex. 11 is a true and correct copy of Whitebox’s response to

Earl’s first set of interrogatories.

        13.     Attached hereto as Ex. 12 is a true and correct copy of the e-mail sent by Gail

Rosenblum to Whitebox on January 12, 2017, at 11:12 a.m., marked as Ex. 83 to the deposition

transcript of Bradly Schwab, together with the draft Assignment of Claim Agreement attached

thereto.

        14.     Annexed hereto as Ex. 13 is a true and correct copy of the e-mail sent by Barrett

Mikelberg to Bradly Schwab on July 18, 2017, at 9:41 a.m. (eight days after Whitebox filed its

initial motion with respect to the Claim, ECF No. 7120), marked as Ex. 22 to the deposition

transcript of Barret Mikelberg.



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       15.    Attached hereto as Ex. 14 is a true and correct copy of certain documents Cowen

produced to Earl in response to a document subpoena in this contested matter, which are cited by

bates stamp number assigned by Cowen (CSI____).

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 31, 2018.

                                                     /s/ Jeffrey Chubak




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